976 F.2d 725
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony CROWELL, Petitioner-Appellant,v.Edward W. MURRAY, Respondent-Appellee.
    No. 92-6389.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  Sept. 17, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CA-91-410-N)
      Anthony Crowell, Appellant Pro Se.
      William Rundahl Coleman, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellee.
      E.D. Va.
      DISMISSED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Anthony Crowell seeks to appeal the district court's order dismissing this action brought under 28 U.S.C. § 2254 (1988).  Petitioner's case was referred to a magistrate judge pursuant to 28 U.S.C. § 636(b)(1)(B) (1988).  The magistrate judge recommended that relief be denied and advised Petitioner that the failure to file timely objections to this recommendation could waive appellate review of a district court order based upon the recommendation.  Despite this warning, Petitioner failed to object to the magistrate judge's recommendation.
    
    
      2
      The timely filing of objections to a magistrate judge's recommendation is necessary to preserve appellate review of the substance of that recommendation where the parties have been warned that failure to object will waive appellate review.   See Wright v. Collins, 766 F.2d 841, 845-46 (4th Cir. 1985);   United States v. Schronce, 727 F.2d 91, 93-94 (4th Cir.), cert. denied, 467 U.S. 1208 (1984);   see also Thomas v. Arn, 474 U.S. 140 (1985).  Petitioner has waived appellate review by failing to file objections after receiving proper notice.  We accordingly deny a certificate of probable cause to appeal, deny leave to proceed in forma pauperis, and dismiss the appeal.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the mate rials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         In any event, we note that Crowell's challenge to the reduction of his good conduct allowance level fails to state a claim under 28 U.S.C. § 2254 (1988)
      
    
    